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               Exhibit 11
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Table: DECENNIALPL2020.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          Harris County, Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=p2&g=050XX00US48201&tid=DECENNIALPL2020.P2




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Table: DECENNIALPL2020.P2


TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




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Table: DECENNIALPL2020.P2


  Label                              Harris County, Texas
Total:                              4,731,145
 Hispanic or Latino                 2,034,709
 Not Hispanic or Latino:            2,696,436
   Population of one race:          2,574,765
     White alone                    1,309,593

     Black or African American alone 885,517
     American Indian and Alaska
     Native alone                    8,432
     Asian alone                     344,762
     Native Hawaiian and Other
     Pacific Islander alone          3,199
     Some Other Race alone           23,262

   Population of two or more races: 121,671
    Population of two races:        113,875
      White; Black or African
      American                      26,632
      White; American Indian and
      Alaska Native                 24,920
      White; Asian                  25,504
      White; Native Hawaiian and
      Other Pacific Islander        1,002
      White; Some Other Race        18,643
      Black or African American;
      American Indian and Alaska
      Native                        4,893
      Black or African American;
      Asian                         3,415
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              832


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Table: DECENNIALPL2020.P2


  Label                               Harris County, Texas
      Black or African American;
      Some Other Race                5,227
      American Indian and Alaska
      Native; Asian                  405
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         45
      American Indian and Alaska
      Native; Some Other Race        212
      Asian; Native Hawaiian and
      Other Pacific Islander         1,131
      Asian; Some Other Race         924
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           90
     Population of three races:      7,001
      White; Black or African
      American; American Indian
      and Alaska Native              2,765
      White; Black or African
      American; Asian                1,083
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     106
      White; Black or African
      American; Some Other Race      897
      White; American Indian and
      Alaska Native; Asian           536
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       79


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Table: DECENNIALPL2020.P2


  Label                               Harris County, Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           187
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       615
      White; Asian; Some Other
      Race                           230
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     17
      Black or African American;
      American Indian and Alaska
      Native; Asian                  104
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         16
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        148
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         88
      Black or African American;
      Asian; Some Other Race         74
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           24




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Table: DECENNIALPL2020.P2


  Label                                  Harris County, Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       5
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           0
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     27
     Population of four races:       716
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       321
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       22
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     186
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       56




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Table: DECENNIALPL2020.P2


  Label                              Harris County, Texas
      White; Black or African
      American; Asian; Some Other
      Race                         60
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              0
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     34
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   12
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    0
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    11
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     6
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         1




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  Label                                  Harris County, Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     0
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     7
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       76
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               39
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                36
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0


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Table: DECENNIALPL2020.P2


  Label                                  Harris County, Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      1
     Population of six races:        3
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           3




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